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                           Exhibit 9
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 Special Investigation Commission
 Fighting Money Laundering & Terrorism Financing
 Banque du Liban

 November 11, 2020      Beirut

 Reference: Your letter number 8/RM/O dated September 28, 2020
 Number 3430/H.T./20/G92


 Mr. General Manager
 Arab Bank SMH

 Subject: Notice of Decision

 In reference to your letter mentioned above
 we are attaching herewith a confirmed copy of the decision of the Special Investigation Commission
 number 1/4/20/2020 dated November 5, 2020.


 Respectfully,

 [signature]
 Abdel Hafiz Mansour
 General Secretary
 Special Investigation Commission
Case 1:18-cv-02192-HG-PK            Document 84-11           Filed 03/04/22     Page 3 of 6 PageID #:
                                             1340



 Special Investigation Commission
 Fighting Money Laundering & Terrorism Financing
 Banque du Liban


                                              Confidential

 November 5, 2020        Beirut

 Reference: Matter number G92

                                     Decision number: 1/4/20/2020

 The Special Investigation Commission
 after review of the report of the Secretary General of the “Commission” number 3082/H.T/20 dated
 September 10, 2020,
 and after deliberation,
 they unanimously decided:
 “Informing Arab Bank SMH that the request regarding the subject of its letter number 8/RM/0 dated
 September 28, 2020 is subject to the provisions of the law on bank secrecy dated September 3, 1956, and
 as such it cannot supply the courts in the United States with the documentation and the information
 requested only in circumstances stated in the law.

 Decision rendered on November 5, 2020

 [signature]
 Riad Toufic Salame
 Chairman of the “Commission”
 Governor of the Central Bank

 Copy to the concerned bank

                                                                         Seal of SIC
                                                                         November 11, 2020
                                                                         No. 4760/20
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SPECIAL INVESTIGATION COMMISSION
 Fighting Money Laundering & Terrorism Financing
                Banque du Liban




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 SPECIAL INVESTIGATION COMMISSION
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                                                      CERTIFICATION
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 File Name(s):                      11-11-20 Response from Lebanon SIC CBL w English

 Source Language(s):                Arabic

 Target Language(s):                English




 Authorized Signature:




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 Name:        Crystal Dai

 Title:       Senior Project Manager

 Date:        March 3, 2022




 Reason for signature: I approve the accuracy of this document content as written




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